          Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 1 of 15




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
________________________________
                                     :
DENISE SHIVERY                       :
Bellefonte, PA 16823                 :
                                     :
                          Plaintiff, :
                                     :    CIVIL ACTION NO.
              v.                     :
                                     :
PENNSYLVANIA STATE UNIVERSITY :           JURY TRIAL DEMANDED
201 Old Main                         :
University Park, PA 16802            :
                                     :
                          Defendant. :
________________________________     :

                                          COMPLAINT

   I. INTRODUCTION

         Plaintiff, Denise Shivery, brings this employment action against Defendant Pennsylvania

State University (“Defendant” or “Penn State”). Plaintiff was retaliated against because she

engaged in protected activity by complaining of unlawful sex discrimination and participating in

an investigation into complaints of discrimination in violation of Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C. §2000e, et seq. (“Title VII”) and the Pennsylvania Human

Relations Act, as amended, 43 P.S. §951, et seq. (“PHRA”). Plaintiff seeks all damages,

including economic loss, compensatory, and punitive damages, and all other relief under

applicable federal, state, and local law as this Court deems appropriate.

   II.        PARTIES

         1.     Plaintiff, Denise Shivery, is a female individual and citizen of the Commonwealth

of Pennsylvania.

         2.     Defendant is a research university with campuses throughout Pennsylvania.



                                                 1
           Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 2 of 15




          3.      Defendant is engaged in an industry affecting interstate commerce and regularly

conducts business in the Commonwealth of Pennsylvania.

          4.      At all times material hereto, Defendant employed more than fifteen (15)

individuals.

          5.      At all times material hereto, Defendant acted as an “employer” within the

meaning of the statutes which form the basis of this matter.

          6.      At all times material hereto, Plaintiff was an “employee” of Defendant within the

meaning of the statutes which form the basis of this matter.

          7.      At all times material hereto, Defendant acted by and through its authorized agents,

servants, and/or employees acting within the course and scope of their employment with

Defendant and in furtherance of Defendant’s business.

   III.         JURISDICTION AND VENUE

          8.      The causes of action which form the basis of this matter arise under Title VII and

the PHRA.

          9.      The District Court has jurisdiction over Count I (Title VII) pursuant to 42 U.S.C.

§2000e-5 and 28 U.S.C. §1331.

          10.     The District Court has supplemental jurisdiction over Count II (PHRA) pursuant

to 28 U.S.C. §1367.

          11.     Venue is proper in the District Court under 28 U.S.C. §1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred within this District.

          12.     On or about October 22, 2020, Plaintiff filed a Complaint with the Pennsylvania

Human Relations Commission (“PHRC”), and dual-filed with the Equal Employment

Opportunity Commission (“EEOC”), complaining of the acts of retaliation alleged herein.



                                                   2
          Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 3 of 15




Attached hereto, incorporated herein and marked as Exhibit 1 is a true and correct copy of the

Complaint.

         13.     On or about March 8, 2022, the U.S. Department of Justice Civil Rights Division

issued to Plaintiff a Notice of Right to Sue. Attached hereto, incorporated herein and marked as

Exhibit 2 is a true and correct copy of that notice.

         14.     Plaintiff has fully complied with all administrative prerequisites for the

commencement of this action.

   IV.         FACTUAL ALLEGATIONS

         15.     Plaintiff commenced employment with Defendant on or around November 3,

2014.

         16.     Prior to the notice of her termination of employment on June 2, 2020, Plaintiff

held the position of Compliance Specialist.

         17.     Plaintiff last reported to Sandra Weaver (female), Youth Program Specialist.

         18.     Ms. Weaver reported to Kenya Mann Faulkner (female), Chief Ethics and

Compliance Officer.

         19.     Ms. Faulkner reported to David Gray (male), Vice President of Finance and

Business/Treasurer.

         20.     Before she began reporting to Ms. Weaver, Plaintiff reported directly to Ms.

Faulkner.

         21.     Prior to Ms. Faulkner learning that Plaintiff had raised a complaint of

discrimination, Ms. Faulkner supported Plaintiff’s employment and advocated for her

advancement within Defendant.




                                                  3
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 4 of 15




        22.       For example, on January 14, 2019, Ms. Faulkner gave Plaintiff a positive mid-

year check-in performance evaluation.

        23.       In or around late January 2019, Ms. Faulkner told Plaintiff that she wanted

Plaintiff to be promoted and filed paperwork with Human Resources (“HR”) to have Plaintiff’s

position reviewed for promotion.

        24.       At the same time, Ms. Faulkner also told Plaintiff that she wanted Plaintiff to

develop and be the head of a new sub-unit in the Office of Ethics and Compliance with two

direct reports.

        25.       Ms. Faulkner further told Plaintiff that she wanted her to join the Ethics and

Compliance Council and accompany Ms. Faulkner on outreach visits.

        26.       On or around February 5, 2019, Ms. Faulkner told Plaintiff that Clint Eury (male),

HR Strategic Partner, had authorized her to offer Plaintiff a within-level salary increase, which

would not require submission of a job review packet to HR.

        27.       Ms. Faulkner then told Plaintiff that she deserved more of a raise than what Mr.

Eury was offering, so she declined the raise on Plaintiff’s behalf without consulting Plaintiff.

        28.       Ms. Faulkner stated that she would be able to get Mr. Eury to do what she wanted

because she “had dirt on him” and that Plaintiff should proceed with preparing a job review

packet to submit to HR to obtain a higher salary increase.

        29.       Plaintiff observed Ms. Faulkner treating male employees in a more hostile,

demeaning, and dismissive manner than she treated female employees.

        30.       Ms. Faulkner routinely made comments that were discriminatory based on sex.

        31.       Ms. Faulkner commented that certain male employees of Defendant were

“shady,” “weasels,” “snakes,” “weenies,” “conniving,” and “untrustworthy.”



                                                   4
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 5 of 15




       32.     Plaintiff did not hear Ms. Faulkner refer to any female employees in this manner.

       33.     Ms. Faulkner ultimately removed job duties and direct reports from male

employees and assigned them to female employees.

       34.     Ms. Faulkner excluded male members of the office from meetings and

communications related to their job duties.

       35.     She also unjustly criticized and made fun of male employees.

       36.     Ms. Faulkner instructed Plaintiff to “stand up” to men.

       37.     On or around February 20, 2019, in a phone call with Gary Langsdale (male),

University Risk Officer, Plaintiff complained that Ms. Faulkner was targeting male employees.

       38.     Plaintiff complained of the above comments and conduct by Ms. Faulkner toward

male employees.

       39.     Mr. Langsdale instructed Plaintiff to contact Mr. Eury about her complaints.

       40.     Following the above phone call with Mr. Langsdale, Plaintiff contacted Mr. Eury

by phone and complained that Ms. Faulkner was targeting male employees. Plaintiff reiterated

the above comments and conduct by Ms. Faulkner toward male employees.

       41.     After Mr. Eury assured Plaintiff that she would be protected by Defendant’s anti-

retaliation policy, Plaintiff made the complaint “official,” which Mr. Eury explained would result

in an investigation.

       42.     On February 25, 2019, Mr. Gray wrote in an email to the Office of Ethics

Compliance that HR would “be reaching out to meet with various staff members within the

Office of Ethics & Complaint . . . to learn more . . . about the work environment and current

challenges within” the office.




                                                5
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 6 of 15




       43.     After she was contacted by Kenneth Korbich (male), Manager, Labor and

Employee Relations, on February 27, 2019, Plaintiff met with Mr. Korbich, Bruce Crocefoglia

(male), Senior Director for HR, and Amanda Jones (female), Senior Director for HR.

       44.     In this meeting, Plaintiff again complained that Ms. Faulkner was targeting male

employees and shared the above comments and conduct by Ms. Faulkner toward male

employees.

       45.     When they asked Plaintiff if she felt Ms. Faulkner was discriminating against

men, Plaintiff said “yes.”

       46.     Plaintiff was told that Mr. Korbich, Mr. Crocefoglia, Ms. Jones, and Lorraine

Goffe (female), Vice President for HR and Chief HR Officer, recommended to Mr. Gray that

Ms. Faulkner be terminated as a result of the findings of Defendant’s investigation.

       47.     However, Defendant did not terminate Ms. Faulkner, and instead she remained

employed by Defendant.

       48.     Following Plaintiff’s sex discrimination complaints, Ms. Faulkner treated Plaintiff

differently and worse, and in a more hostile and dismissive manner, than she treated Plaintiff

before she complained of sex discrimination.

       49.     For example, Ms. Faulkner ignored Plaintiff and excluded her from

communications relevant to her job duties.

       50.     Ms. Faulkner gave Plaintiff a lower raise than she said Plaintiff deserved before

Plaintiff complained of sex discrimination.

       51.     Ms. Faulkner did not promote Plaintiff or appoint her to be the head of a new sub-

unit in the Office of Ethics and Compliance as was discussed before Plaintiff complained of sex

discrimination.



                                                6
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 7 of 15




       52.     Ms. Faulkner further did not select Plaintiff to join the Ethics and Compliance

Council, nor did she ask Plaintiff to accompany her on outreach visits as she said she would

before Plaintiff complained of sex discrimination.

       53.     On July 24, 2019, in an email from Ms. Goffe and Stephen Dunham (male), Vice

President and General Counsel, they stated that Defendant had received concerns about

workplace conduct among certain employees in the Office of Ethics and Compliance, and

therefore Defendant had retained outside counsel to conduct an investigation on behalf of

Defendant.

       54.     On August 11, 2019, Plaintiff received an email from the outside counsel stating

that Plaintiff was “named in a complaint as an individual who may have engaged in some form

of improper conduct or is otherwise a source of certain problems in the office.”

       55.     The following day, August 12, 2019, Plaintiff emailed Mr. Korbich, complaining

that she was named in a complaint and accused of improper conduct and/or causing problems in

the office in retaliation for participating in the investigation into Plaintiff’s sex discrimination

complaints.

       56.     In a response email from Mr. Korbich, he did not deny that Plaintiff was being

retaliated against for participating in the investigation into Plaintiff’s sex discrimination

complaints.

       57.     On August 21, 2019, in a meeting with Defendant’s outside counsel, Plaintiff

complained that Ms. Faulkner was targeting male employees, favoring female employees over

male employees, and retaliating against Plaintiff because of Plaintiff’s complaints of sex

discrimination by Ms. Faulkner.




                                                 7
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 8 of 15




       58.      The outside counsel asked Plaintiff what was wrong with women supporting

women, and they told Plaintiff that there were “allegations” against Plaintiff made by Ms.

Faulkner. They further stated that Plaintiff was a “problem,” and asked her if she had ever

“snooped” in Ms. Faulkner’s office or “badmouthed” her to other employees.

       59.      On September 10, 2019, Mr. Gray stated in a staff meeting that Defendant found

no “new behavior” or any misconduct on either side, and that they need to “hit the reset button.”

       60.      On September 18, 2019, Ms. Faulkner announced in a staff meeting that Plaintiff

would be transferred and assigned to report to Ms. Weaver, who would be reporting directly to

Ms. Faulkner.

       61.      As a result of this announcement, from an organizational chart perspective,

Defendant demoted Plaintiff.

       62.      On November 5, 2019, Ms. Weaver informed Plaintiff that Ms. Faulkner had told

her that “someone” had complained that Plaintiff was “off-putting.”

       63.      Before complaining of sex discrimination, Plaintiff had no performance or

disciplinary issues.

       64.      Over the course of several months Plaintiff applied to numerous internal posted

positions for which she was qualified. These positions included: (1) Compliance Specialist; (2)

Manager of Information Technology and Learning Development; (3) Business Analyst and

Quality Manager; (4) Business Process Analyst (Functional Operations Lead); (5) HR Specialist

(Labor and Employee Relations Specialist); and (6) Marketing Communications Specialist

(Production Coordinator).

       65.      Defendant failed to hire Plaintiff into any of these positions.




                                                  8
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 9 of 15




       66.     On January 31, 2020, Plaintiff complained to Ms. Weaver that she was being

retaliated against for making sex discrimination complaints.

       67.     On March 10, 2020, Ms. Weaver unjustly criticized Plaintiff’s performance. Ms.

Weaver stated that Plaintiff had to watch her nonverbal expressions during meetings and that

Plaintiff was unprofessional during the previous day’s meeting. Ms. Weaver further stated that

she knew that Plaintiff was unhappy and that it showed.

       68.     Ms. Weaver also stated that Defendant expected employees to grow and move on,

and that maybe it was time for Plaintiff to move on.

       69.     Before complaining of sex discrimination, Plaintiff had no indication that her job

was in jeopardy.

       70.     Plaintiff responded by complaining that Ms. Faulkner was continuing to pick on

her and make false statements about her performance, and that Plaintiff feared retaliation.

Plaintiff told Ms. Weaver that Ms. Faulkner had previously told her that once anyone crosses her,

they were dead to her, and that Plaintiff was afraid she was continuing to target her because of

Plaintiff’s sex discrimination complaints.

       71.     Other employees who had complained of sex discrimination and retaliation in

connection with Ms. Faulkner were transferred and/or termination and/or pushed out of

employment with Defendant.

       72.     On April 28, 2020, Ms. Weaver again unjustly criticized Plaintiff’s behavior and

stated that Ms. Faulkner had asked her to speak with Plaintiff about Plaintiff’s behavior.

       73.     On June 2, 2020, in a letter from Ms. Faulkner, and on a phone call with Ms.

Weaver and Jennie Dare (female), Interim HR Strategic Partner, Defendant terminated Plaintiff’s

employment, effective June 30, 2020.



                                                 9
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 10 of 15




        74.     The stated reason for Plaintiff’s termination was that Defendant was moving the

Title IX training to another office and responsibilities were being restructured.

        75.     However, Title IX training was a particularly minimal part of Plaintiff’s job duties

and responsibilities.

        76.     Defendant’s stated reason for Plaintiff’s termination (transferring Title IX training

duties) is false and pretext for retaliation.

        77.     On June 3, 2020, on a phone call with Ms. Dare, Plaintiff complained that she was

being terminated in retaliation for her sex discrimination complaints. Plaintiff further told Ms.

Dare that Title IX training was not a regular part of her job duties and responsibilities.

        78.     Ms. Dare responded that Ms. Faulkner was working on finding other

opportunities within Defendant for Plaintiff, and that Mr. Korbich would investigate Plaintiff’s

retaliation complaints.

        79.     Thereafter, Plaintiff applied to numerous open, posted positions at Defendant for

which she was qualified, including: (1) Associate Director of Alumni Relations, Alumni

Relations and Stewardship Officer; (2) Marketing Communications Specialist; (3) HR

Consultant; (4) Multimedia Specialist; (5) Non-Credit Learning Design Manager; (6) Marketing

and Communications Manager (Director of Marketing and Communications); (7) Business

Process Analyst 3; (8) Instructional Designer 2; (9) Instructional Designer; (10) Marketing

Strategy Specialist 3; (11) Help Desk Manager (IT Manager); (12) Public Relations Specialist 2

(Crisis and Issues Specialist); (13) Administrative Support Coordinator 5; (14) Piazza Center

Data Analyst; (15) Instructional Designer 2; (16) Multimedia Specialist; (17) HR Specialist 1

(Absence Management Specialist); (18) Investigations Compliance Specialist; (19) Education

Program Coordinator 3; (20) Instructional Designer 2; (21) Affirmative Action Office



                                                 10
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 11 of 15




Investigator; (22) Marketing Communications Specialist 3; (23) Marketing Manager; and (24)

Administrative Support Coordinator 4.

        80.     Defendant failed to hire Plaintiff into any of these positions.

        81.     Defendant did not offer Plaintiff any opportunities to remain employed at

Defendant.

        82.     On June 30, 2020, Plaintiff’s employment with Defendant officially ended.

        83.     On July 21, 2020, Defendant posted a Compliance Specialist position in the

Office of Ethics and Compliance, which was the same job title Plaintiff held prior to her

termination of employment.

        84.     On July 28, 2020, Plaintiff was informed that Defendant found no evidence of

retaliation against her.

        85.     Plaintiff was not interviewed in connection with Defendant’s investigation into

her retaliation complaints.

        86.     Numerous employees told Plaintiff that they believed Plaintiff was being

retaliated against because of her sex discrimination complaints.

        87.     Defendant subjected Plaintiff to a hostile work environment, demoted her, failed

to promote and/or hire Plaintiff, and terminated Plaintiff’s employment in retaliation for Plaintiff

complaining of sex discrimination and participating in a discrimination investigation.

        88.     Plaintiff’s complaining of discrimination and/or participating in a discrimination

investigation was a motivating and/or determinative factor in Defendant’s retaliatory treatment

of Plaintiff, including subjecting Plaintiff to a hostile work environment, demoting Plaintiff,

failing to promote and/or hire Plaintiff, and terminating Plaintiff’s employment.




                                                  11
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 12 of 15




        89.     The retaliatory actions taken against Plaintiff after she complained of

discriminatory conduct and/or participated in a discrimination investigation would have

discouraged a reasonable employee from complaining of discrimination and/or participating in a

discrimination investigation.

        90.     Defendant failed to prevent or address the harassing and retaliatory conduct

referred to herein and further failed to take corrective and remedial measures to make the

workplace free of harassing and retaliatory conduct.

        91.     The conduct of Defendant, as set forth above, was severe or pervasive enough to

make a reasonable person believe that the conditions of employment are altered and the working

environment is hostile or abusive.

        92.     As a direct and proximate result of the retaliatory conduct of Defendant, Plaintiff

has in the past incurred, and may in the future incur, a loss of earnings and/or earning capacity,

loss of benefits, pain and suffering, embarrassment, humiliation, loss of self-esteem, mental

anguish, and loss of life’s pleasures, the full extent of which is not known at this time.

        93.     The conduct of Defendant, as set forth above, was outrageous under the

circumstances, was done by and with the knowledge of upper management, and warrants the

imposition of punitive damages against Defendant.

        94.      The conduct of Defendant, as set forth above, was willful and intentional.

                                     COUNT I - TITLE VII

        95.     Plaintiff incorporates herein by reference paragraphs 1 through 94 above, as if set

forth herein in their entirety.

        96.     By committing the foregoing acts of retaliation against Plaintiff on the basis of

her protected activity, Defendant has violated Title VII.



                                                 12
         Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 13 of 15




        97.     Said violations were willful and intentional and warrant the imposition of punitive

damages.

        98.     As a direct and proximate result of Defendant’s violation of Title VII, Plaintiff

has suffered the damages and losses set forth herein.

        99.     Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s unlawful acts unless and until this Court grants the

relief requested herein.

        100.    No previous application has been made for the relief requested herein.

                                       COUNT II - PHRA

        101.    Plaintiff incorporates herein by reference paragraphs 1 through 100 above, as if

set forth herein in their entirety.

        102.    Defendant, by committing the foregoing acts of retaliation, has violated the

PHRA.

        103.    As a direct and proximate result of Defendant’s violations of the PHRA, Plaintiff

has sustained the injuries, damages and losses set forth herein.

        104.    Plaintiff is now suffering and will continue to suffer irreparable injuries and

monetary damages as a result of Defendant’s unlawful acts unless and until the Court grants the

relief requested herein.

        105.    No previous application has been made for the relief requested herein.

                                             RELIEF

        WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in favor of

Plaintiff, Denise Shivery, and against Defendant Penn State. Plaintiff seeks damages and legal

and equitable relief in connection with Defendant’s improper conduct, and specifically prays that



                                                 13
        Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 14 of 15




the Court grant the following relief to the Plaintiff by:

    a) declaring the acts and practices complained of herein to be in violation of Title VII;

    b) declaring the acts and practices complained of herein to be in violation of the PHRA;

    c) enjoining and permanently restraining the violations alleged herein;

    d) entering judgment against Defendant in favor of Plaintiff in an amount to be determined;

    e) awarding compensatory damages to Plaintiff to make Plaintiff whole for all past and

        future lost earnings, benefits and earnings capacity which Plaintiff has suffered and will

        continue to suffer as a result of Defendant’s discriminatory and unlawful misconduct;

    f) awarding compensatory damages to Plaintiff for past and future emotional upset, mental

        anguish, humiliation, loss of life’s pleasures and pain and suffering, which Plaintiff has

        suffered or may suffer as a result of Defendant’s improper conduct;

    g) awarding punitive damages to Plaintiff under Title VII;

    h) awarding Plaintiff such other damages as are appropriate under Title VII and the PHRA;

    i) awarding Plaintiff the costs of suit, expert fees and other disbursements, and reasonable

        attorneys’ fees; and

    j) granting such other and further relief as this Court may deem just, proper, or equitable

        including other equitable and injunctive relief providing restitution for past violations

        and preventing future violations.

                                                       CONSOLE MATTIACCI LAW, LLC


Dated: June 2, 2022                                    By:   /s/ Stephen G. Console
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                                                  14
Case 4:22-cv-00873-MWB Document 1 Filed 06/02/22 Page 15 of 15




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                              15
